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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

  UNITED STATES OF AMERICA,                      CRIM. NO. 15-20652

                            Plaintiff,           HON. GEORGE CARAM STEEH
         v.

  D-4    COREY BAILEY,
  D-6    ROBERT BROWN,
  D-13   ARLANDIS SHY,
  D-19   KEITHON PORTER,

                       Defendants.
  ______________________________/

   GOVERNMENT’S EXPARTE MOTION TO EXCEED PAGE LIMIT FOR
    RESPONSE TO DEFENDANTS’ MOTION FOR A NEW TRIAL BASED
               ON NEWLY DISCOVERED EVIDENCE

         The United States of America, by its undersigned attorneys, respectfully

  requests permission pursuant to Local Rule 7.1.(d)(3)(a), to file a response to

  defendants’ motion for new trial based on newly discovered evidence, in excess of

  25 pages, and in support, states as follows:

         1. Although briefs are typically limited to 25 pages by local court rule, the

  government asks for permission to exceed these page limits pursuant to E.D. Mich.

  Local R. 7.1(d)(3)(A).




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         2. To thoroughly respond to the defendants’ motion, the government must

  analyze two different trial transcripts and incorporate several portions of those trial

  transcripts in its reply.

         3. The governments’ response also contains several images of text messages

  that are a crucial part of the government’s analysis.

         4.   By incorporating the above information into the government’s response,

  the government will exceed the 25-page limit by approximately nine pages.

          WHEREFORE, the government requests that this Honorable Court grant its

  ex parte motion and allow the government to exceed the 25-page limit for its

  response to defendants’ motion for new trial based on newly discovered evidence.

                                                 Respectfully submitted,

                                                 Matthew Schneider
                                                 United States Attorney

                                                 /s/ Mark S. Bilkovic
                                                 Mark S. Bilkovic
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                                                 mark.bilkovic@usdoj.gov
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 Dated: August 5, 2019



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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  UNITED STATES OF AMERICA,                    CRIM. NO. 15-20652

                           Plaintiff,          HON. GEORGE CARAM STEEH
         v.

  D-4    COREY BAILEY,
  D-6    ROBERT BROWN,
  D-13   ARLANDIS SHY,
  D-19   KEITHON PORTER,

                       Defendants.
  ______________________________/

      ORDER GRANTING GOVERNMENT’S EXPARTE MOTION TO
    EXCEED PAGE LIMIT FOR RESPONSE TO DEFENDANTS’ MOTION
     FOR A NEW TRIAL BASED ON NEWLY DISCOVERED EVIDENCE

         The government having moved to pursuant to Local Rule 7.1.(d)(3)(a), to

  file a response to defendants’ motion for new trial based on newly discovered

  evidence, in excess of 25 pages, and the Court being duly advised in the premises;

         IT IS HEREBY ORDERED that the government's motion is granted.


                                               s/George Caram Steeh
                                               Hon. George Caram Steeh
                                               United States District Judge


  Dated: August 6, 2019




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